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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 1 of 79 PageID #: 1101




                                    IN THE
                          MISSOURI COURT OF APPEALS
                               EASTERN DISTRICT


 STATE OF MISSOURI.                           )
                                              )
                           Respondent,        )
                                              )
       vs.                                    )   No. ED100807
                                              )
 JEFFREY R. WEINHAUS,                         )
                                              )
                          Appellant.          )


                                    LEGAL FILE
                                     Volume II


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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 2 of 79 PageID #: 1102




                                     INDEX

 VOLUME I                                                                Page(s)

                FRANKLIN COUNTY C4SE NO. 12AB-CR02409-O1:

 DOCKET SHEETS                                                               1-19

 INDICTMENT                                                                20-22

 SUBSTITUTE INFORMATION IN LIEU OF INDICTMENT                              23-25

 DEFENDANT’S REQUEST FOR DISCOVERY                                         26-29

 DEFENDANT’S MOTION FOR BILL OF PARTICULARS                                30-32

 PRO SE MOTION TO DISMISS                                                  33-35

 DEFENDANT’S MOTION TO QUASH INDICTMENT                                    36-48

 DEFENDANT’S MOTION TO SEVER THE CHARGES                                   49-52

 DEFENDANT’S MOTION IN LIMINE / MOTION TO EXCLUDE                          53-57

DEFENDANT’S VERIFIED ANNOUNCEMENT OF READY AND MOTION

      FOR SPEEDY TRIAL                                                     5 8-59

DEFENDANT’S SECOND MOTION TO SEVER OFFENSES                                60-65

DEFENDANT’S AMENDED SECOND MOTION TO SEVER OFFENSES                        66-71

DEFENDANT’S MOTION TO DISMISS THE CHARGE OF TAMPERING WITH

      JUDICIAL OFFICER FOR DEFECT IN THE INSTITUTION OF THE

      PROSECUTION                                                        72-106

DEFENDANT’S AMENDED MOTION TO DISMISS THE CHARGE OF

      TAMPERING WITH JUDICIAL OFFICER FOR DEFECT IN THE

      INSTITUTION OF THE PROSECUTION                                    107-140
                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 3 of 79 PageID #: 1103




 DEFENDANT’S SECOND MOTION IN CIMINE                                      141-143

 STATE’S MOTION iN LIM1NE 1                                                   144

 DEFENDANT’S OPPOSITION TO STATE’S MOTION IN LIMINE                      145-147

 STATE’S MOTION IN LIMINE 2                                                   148

 DEFENDANT’S OPPOSITION TO STATE’S SECOND MOTION IN

      LIMINE                                                             149-150

VOLUME Ii

 DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITTAL                            15 1-152

 DEFENDANT’S SECOND MOTION FOR JUDGMENT OF ACQUITTAL                     153-156

 DEFENDANT’S SUPPLEMENTAL SUGGESTIONS OF LAW IN SUPPORT

      OF EACH OF HIS ORIGINAL, RENEWED & SECOND MOTIONS FOR

      JUDGMENT OF ACQUITTAL                                              157-162

JURY INSTRUCTIONS                                                        163-192

JURY’S QUESTIONS                                                         193-194

VERDICTS                                                                 195-200

SENTENCING VERDICTS                                                     201-204

DEFENDANT’S MOTION FOR NEW TRIAL                                        205-211

JUDGMENT                                                                212-214

NOTICE OF APPEAL                                                        2 15-222

CLERK’S CERTIFICATION                                                   223-225

CERTIFICATE OF SERVICE                                                      226
                                                                                                                Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 4 of 79 PageID #: 1104




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                                                                                            FANKLjhbi7,
      S FATE OF MISSOURI.                                                                               -
                                                                                                            -




                                                              C ase No. I 2.\B-C’R0240Q’

   JEFFRE’y R. WHNHAL S,                                )
               Defendant.

                 1)EFENDNT’S MO 1 ION FOR JUDCMEJT OF ACQI1T’[AL

           Comes no Delhndant Jeffrey R. \\einhaus. h counsel Iluch A. Eastwood and

  Christopher M. Combs, and states as his Rule 27.07 Motion for Judgment of Acquittal:

           The State has failed to make a submissible case fbr all of the elements (hr each otits

  charges. arid therefore the Court mus: enter a judgment of acquittal.

   1.      Possession Of Controlled Substance Except 35 Grams Or Less Of Marijuana, a class C

           Felony, RSMo, 195.202:

  2.       ‘lampering With Judicial OfTicer, a class C Felony. RSMo .5o5.084;

  3.       Possession OfUp To 35 Grarn’ Marijuana, a Class A Misdemeanor, RSMo: 195,202:

  4.       AssaultiAnernpt Assault- 11G. Corr Off, Lmrgnc Prsiml, Hwy Wkr, t :jjy Wrkr.Cble

           Wrkr Or P&P Offer    -   1st Degr, a Class A Felon), RSMo 565.081;

  5.       Armed Criminal Action, Felon) Unclassified. RSMo. 571.0 15:

  6.       Assault.’Attempt Assault   -   110. Corr OfL Ernrgnc Prsnnl. I lw’ Wkr. I nhitv \Vrkr.CIIe

             rkr Or P&P Oiler       1st Deer, a ( as \ I elon\, RNMo 56 U8 1.

          Armed Criminat \ction, I ek ny Unclassified, RSMo         )   1 01,

  8       Resisting interfering With Arrest For A Felons, a Class I) Felon\. RSMo: 75 150:

          WHEREFORE i)efendant Jei’ti’e R. Weinhais prd\s          ihs Court    enter a Ji.DG\1LNI Of

  ACQf III Al. on all counts, and for such ether relief as is meet, iust and reasonable
                                                                                             Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 5 of 79 PageID #: 1105




   Respectfully Submitted.

   Aitorneis for Defendani

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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 6 of 79 PageID #: 1106




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                                       ‘ith JI DICL\l C IRCt II
                                        sI UI 01’ 1ISSOt RI

  StAll OFMISSOL RI,                                 )
                                                     )
                                                     )      Case No. 12A8-CR02409-OI
                                                     )
  JEFFREY R. WFINI tAt &

                Defendant.

              DEFENDANT’S SECONI) MOTION FOR Jfl)GMEN1’ OF .%CQflTTA1

          Comes now Defendant Jeffrey R. Weinhaus. by counsel I lugh A. Eastwood and

  Christopher M. Combs. and states a’ his second motion for judgment of acquittal. as a matter of

  law pursuant to Rule 27.07(c):

          The slate originally brought A charge.’. the Court acquitted the Defendant o/2 c’hargec

  at the clo.se ofState v evidence, upon De/knclani : motion. The issue he/ore ihe C ‘wart here i.s

  ii heiher   the 2 drug eom’wtions /èloni’ controlled substance (morphine tabletci and

  ,niA’demeanor marijuana possession should also be subjeci it.. acquittal as a mailer at law.
                                        —




  I.      Controlled substance, no active or constructive possession. I’he e idence shoved that

          Defendant lived in the house with his then wife and teenage son. I’he one and one-half

          morphine tablets were found inside a Camel brand snuff box in a common area of the

          basement in a container near a family computer. I he common area na’. not locked off or

         others’ ise secured from other common areas ol the house. I he es ident: also h’nsed         that

         the teenage son’c bedroom “as a4iacent u the common area. Common sense and

         esperience indicate that teenage boys sometimes do nauahty things in the basements of

         family homes—whether with izirls. or with alcohol and drugs. I here was no other

         esidence that l)elendant constructnely possessed the morphine tablets, let ‘done esen

         knew of their eitence. I her: is no et idence that he wds es er pnmiinat to the basement



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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 7 of 79 PageID #: 1107
                                                                                 (


        on the day of the search: he spoke to the troopers outside the home. U hat he made a

        home mo te in the basement a fen days before          is   irrele ant.

                Recent authority del:ats constructi e possession of the morphine, and aflirms that

        %hssoun la cannot support L)efendant’s con’ iction for possession of the morphine

        tablets. State v. Politte, No. SD 31469(1 eb. 25.2013) (Defendant had small amount of

        marijuana in his bedroom. but acquitted ot possession of dulTel bag containing three

        bricks of marijuana. ihich     %sas   found in garage of jointly -controlled premises): ce’ also

        State v. Ilendrix, 81 S.W.3d 9.83 Mo.App.20O2) (Defendant despite hai ing a crack

        pipe on her person. acquitted of trafficking charge for 37 rocks of cocaine base hidden a

        second bedroom of her home in shich she ‘ias a co-habitant): State           ,‘.   lint, Dl SiS .3d

        59. 63 (MoSpp.2000) (Dekndant knes of meth in kitchen icebox hut that kno ledge

        did not indicate control gite i icebox sas in common area of iointly controlled premises).

  2.    Marijuana, no active or constructive possession. Sgt. Folsom said based on his

       training that he smelled marijuana on Defendant’s person. and that Defendant appeared

       under the influence of marijuana. But. there as no marijuana on his person. Further.

       the troopers seized sealed marijuana in the basement, but not a pipe. bong. or other form

       of drug-delivery dci ice for the marijuana. lien if Sgt Folsoni is correct that l)efendant

       as under the influence, that fact does not prow up possession. for the same reasons

       described as to the morphine Sec. Pettite; liendrix: lieu.

               I urther, Defendant aitempted in cioss examination of Sgt. Smith to introduce his

       police report about a text nle%%age related t° I c’ i %einhaus the Court sustained an

       objection by the State.   ii hich   Defendant argues as prejudicial error requiring a ne

       trial). Ihere sas ci idence in a police report iiritwn b’s Sgt. P.L. Smith that there isas a




                                                                                                              C
                                                                                                              S
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 8 of 79 PageID #: 1108




          text l’rom a I c \\ einhaus i Defendant’s on to Defendant concernin a           “     eed plant.”

          Common sense and expericnL e indicate that     “    eed plant” i
                                                                         5 a street name          man uana,

          Sat. Smith ne en passed this nflrmatiun n tu Sat. I ‘isnln on         p1 \ leniens.    I hJt   le\t


          messace coes to Defendant’ lack f cult tar      possession at   the marijuana taunu m his

          basement. and counsel further against the fact of Defendant’s possession.

         \k I IERLI OR!      Defendant .Jeffre R. \\einhaus pra s this Court set aside the jury erdict

  of guilt and enter a directed verdict for judgment of acquittal on each the (1 ,) Controlled

  Substance possession feIon conviction, and (2) Marijuana        possession m isdeineanor       cons iction.

  and for such other relief as is meet, ust and reasonable.

  Respectfu1I submitted.

  \ttornes   for Defendant

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  I he undersigned eerti fle that on I U ‘9 20 1 3 the sen ed tht is da ument
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    fliOfl, \1O 63084
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 9 of 79 PageID #: 1109




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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 10 of 79 PageID #: 1110




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    •                                                                 Cae \ .            \ 13-C RU•   WO-)


   JEFFREY R \VIT\J lA S.

               Defendant.

             jJEFEND:NT’S SI PP1J:MENTL. SUc(;ES’I’IONS 01 1’W
                        IN SE IPORT OF EACh 01 IllS
    ORIGlNAl. RENE EJ) & SF( ONI) MOTIONS FOR Ji DCMFNT OF •\(QIITI\I.

          Comes no Dehndant Jeffi R. \\einhaus. b\ coum,eI I Iueh •\. I •ast\\ oud and

  Christopher VI. Combs. and stales as his supplemental sugestions of Ia\\ in support of each of

  his original. rene ed and second motions for judgment of acquittaL timeI filed as a matter of

  lass pursuant to Rule 7M7(c):

                                                  Procedural Posture

           Fhe State originally brought eight charges. I he Court acquitted Defendant of t\so

  charges at the close of State’s evidence, upon Delndant’s original motion for judgment of

  acquittal.

          Defendant reness ed his mot an at the close of Defendant s es idence

          Fhe jury convicted on ffiur outs and found ot                    (mi lt\   on attempted assault and armed

  ci iminal action as to Cpl. Mertens.

          Post trial, Defendant timeR        t   led a second   motion     for udgment of acqLnttal.

          1 sso issues are   iI(\\   beflre the Court: (I ) Whether the State produced sufficient                 C\   idence

  of Defendant’s intent to assault Sgt. I oRom. in that the act alleoed does not Constitute                  .1


  \uh’tantIaI step tow ard frst-degree itteinpted        assaLilt.   and       whether the State produced

  suflicient es idence of DcRmdant’ s possession on the two drue cons                  ictions   h.Hou\ control        led
                                                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 11 of 79 PageID #: 1111




  substance (morphine tablets and rn       sderneanor mart juana    possession. I hese suggesu’i1s further

  address the first issue. as the seconu iSSue has already been briefed in DefendanCs second motion

   for judgment of acquittal.

                                                    l)iscussion

          Insufficient evidence of intent to assault Sgt. Folsom. in that the act alleged does not

  constitute a substantial step toward first-degree attempted assault.

          The jury convicted Defendant of a crime that the Defendant could not ha’ e committed. in

  that the facts alleged in the Substitute Information and Verdict Director do not lbrm the elements

  for attempt under the statute. This    is a   rare ease s here Defendanfs cons iction is thus a legal

  impossibility based on the underlying facts. and there is insufficient e idence to support the

  coniction. Stale it Summers, 43 S.W.3d 323            (Mo.   •\pp.W.I).. 2001). 1rying to draw a

  weapon to shoot at Sgt. FoIsom’ is not a fact that legally supports first-degree attempted assault

  on law enforcement under RSMo. 565.081. First-degree assault requires that the deli?ndant

  intended to cause death or serious physical injury to a law enforcement officer. Fhher v. Stale,

  359 S.W.3d 113. 121 (Mo. App.. 2011: MM CR 3d 319.32. Note that the anal) sis here is not

  that of, for example. third-degree assault where an officer is put in reasonable apprehension of

  immediate physical injury. (t RSMo. 575.083: MM-CR 3d 319.34. lb show intent, the State

  must prove up e idence of attempt: that is. a substantial step toward completion of the assault.

  which merely pulling a gun    out   from a holster cannot be. lo hold otherwise is plain error tinder

  our Missoun Supreme (‘ourCs precedent. and manifest injustice would result. See. e g.. Slate            it


  ReeL, 167 S V 3d 767 (\Io. 2005) and cases dkcussed below.

          I he disputed e idence. in the best light to the %tate. was that 11 I)efendant withdrew a

  pistol from an open—carry holster on his belt, and (2) stated       o&re going to has: to shoot me

                                                        ‘l




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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 12 of 79 PageID #: 1112
                                                       I




   mane’ Defendant does not concede either facts           Irguendo host e’ er. those t ji Ibets are legally

   insufficient e’ idence of intent to as ault. ot of intent to attempt to assault. Sgt I ulsom under the

   “kno mgI>        attempts to cause seriot
                                      s ph) ical harm” language of KS\Io. 565.081
                                      1                                                          Ic’ hold that

   these facts are sufficient      ould turn c’ cry threat vith a deadly eapon into a substantial step

   to ard the commission of first-degree assault on a lai enforcement officer. Judge I .inibaugh.

   ‘& riling   for our Missouri Supreme ( ourt en hanc has instructed u’ othen ise intent )I dn

   attempt to cause serious physical in ury cannot be inferred from merely negligently endangering

  a person or property of another. hosseer great the danger or extreme the negligence.            State a


  reL Verweire a Muon, 211 Sik .3d 89 (Mo. bane 2006): JIliaIen, 49 S.W.3d at 187 n. 5 (citing

  It Perkins, Criminal Law, 573-74 Cd ed.l969fl.

               One may infer intent from tI c l)e&ndant’s beha’ tar before. durinsz and alter the act.

   Verweire at 92: SWift a lllneman, 4 S.W.3d 924.927-28 (Mo. bane 1999). flie undisputed

  ci   idence on the watch ‘.ideo shoi’ s L)efendant drii ing to the gas station stating that he beliei ed

  his computers iiert to be returned to him, and the troopers admitted that they had lied to

  Defendant and created a ruse in the story about the computers. A 11cr l)efendant ‘s &thdrai al ol’

  his gun (which he does not concede except for argument). Defendant iias shot and incapacitated.

  kt no time did Defendant attempt tc fire the iieapon or pull the trigger, the only ei idence the

  State has of intent is thc troopers’ dsputed and inconsistent testimony that Defendant tsithdrei

  his gun and stated “You’re going to hai e to shoot me man.” 1)efendant does          not   conceic that lie

  made that statement or that such a tatcmcnt is a threat. But ei en ii this ( ourt find’. that that

  statement is a threat, a mere threat’ ith the abilits to tarn out that threat does not necess irily

  constitute an attempt to commit a crime. I 7erweire. 211 S.W .3d at 92-93. Instead. there must be




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                                                                                                         Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 13 of 79 PageID #: 1113




   strongly corroborating c idence that it was the defendant’s conscious object to carry ‘ut the

   threat Id. I lere there is none.

          Under these circumstances. .)efendant did not hate the intent h’ cause serioLh phy cical

   injury, but at most merely threatened to di) so. I here is no in idence l)elèndant e er pulled the

   trigger. Ihis is not a case like those in which the defendant was con’ icted because hc would

   hase iniured the ictim but for the malfunctioning of his weapon or the intenention of law

  enforcement. See. eg.. State v. Unverzagc, 721 S.W.2d 786. 788 (Mo. %pp.l 986) (e4 idenee

  showing defendant pointed an unlo
                               4 ded re ol er. belies ing it to be loaded, at another person four

  feet away and pulled the trigger two or three times was sufficient to show intent to cause serious

  physical injury): In re JR N. 687 S.W.2d 655. 656 (Mo.App.1985 (evidence showing that

  defendant entered a hotel carrying a lug wrench and announced that he “as there to assault the

  manager but was stopped by a police officer “as sufficient to show intent to cause serious

  physical injury). Nor is this a ease in which the defendant attempted to cause serious physical

  injury’ but only minor injury resulted from his actions. See. e.g., State ; JJ’hite, 798 Si .2d 694.

  697 (Mo. banc 1990) (evidence showing that defbndant threw the ictim to the floor, told the

  victim to “shut up or I will stab you “and cut the victim without causing serious physital injun

  was sufficient to show intent to cau e serious physical injury). Further. eten in cases where a

  Defendant wields a weapon and makes a threat (which here Defendant did not do). at most only

  second-degree or third-degree atten’pted assault can be thund. Statc’ v. Dublo, \o. l’) 6’202

  O.Io. kpp.. 2007 (Spinden. .1.. conturring) (“. defendant wielding a deadly weapon and makint

  a threat may be Ihund guilty of as’.a ilt in the second degree or third degree depending upon the

  specific circumstances)



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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 14 of 79 PageID #: 1114
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           \s such there is insuflicient : idence ol intent, and Defendant’s eon’ iction flr his

   attempted assault on Sgt. I olsom must be reersed and Defendant acquitted on each of that

   charge and thus also of armed criminal action.

          In the altematis e to acquitta l)efendant mo es that the Court instead remand for a new
                                        .




   trial only on a lesser-int.luded chaft: of third-degree attempted assault on law enforcement.

   RSNIo. 565.083. a Class     misdemeanor.

                        Armed Criminal Action barred by Double Jeopardy

          Defendant also suggests that in any eent the armed criminal action cun iclion iolates

  his rights under the Double Jeoparch Clause of the Fifth Amendment. U.S. Const.. while

  conceding that our appellate courts have not addressed this precise issue since the armed criminal

  action cons iction was related to the attempted assault cent iction as to Sgt. Folsom. See. c’ g..

  11111 v. Slate, 181 S. .3d 611 (Mo. 2006): bin we State , Peters, 855 S. .2d 145 (Nb.. 1993;

  (Robertson. CJ.. dissenting).

          WHEREFORI: Defendant JetTre3 R. Weinhaus pra3s this C’ourt set aside the jury terdiet

  of guilt and enter a directed verdict ibrjudgmern of acquittal on each the (I) assault coniction

  as to Sgt. Folsom (2) armed criminal action as to Sgt. Folsom. (3) Controlled Substance

  possession felony conviction, and (.1; Marijuana possession misdemeanor cons iction. and 11w

  such other relief as is meet just and reasonable.

  Respectfully submitted.

  •\tti’meys for Defendant

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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 15 of 79 PageID #: 1115




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  Franklin County Prosecuting Attorney
  15 S. Church St.. Room 204
  Union, Mo 63084

  s/ih,1Iiiwood
  The method(s) 01 service: Missouri courts c-tiling   system.




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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 16 of 79 PageID #: 1116



             Todays trial fiar which vo. hake been called for jury service is a criminal cace. Ihe State

     of Missouri has chareed that the defendant Jeffrc R. \Veinhaus has committed the offenes of

     possessing a controlled substance, tampering with a judicial ollicer. possessing marijuana.

     assault of a la enforcement officer, armed criminal action, assault of’ a Ia enforcement otlicer,

     armed criminal action, and resisting arrest ‘Ihe dehndant has pleaded not guilty to the charges.

     Thus, there are issues of fact that [nust he decided by a jury. subject to instructions concerning

     the law, that the Court will give to the jury. I he jury is obligated to follow those instructions.

            A trial of a criminal case begins with the selection ofa jury of qualified and impartial

     people. In order to obtain such a iury, all of you have been summoned as prospective jurors.

     From your number, ajury will be selected to hear the case.

            It is necessary that you be asked various questions. Your answers will assist the Court in

     determining whether it should excuse you from serving in this case and will assist the attorneys

     in making their selection of those who will hear the case. l’hus. the questions, that will he asked

     of you, are not meant to p into ‘tour personal affairs. Rather they are a necessary part of the

     process of selecting alur.

            Since this is an important dart of the trial. you are required to be sworn heftre questions

     are asked. Please rise now and be sworn to answer questions.

                                          (ihe panel will he ssom.

            Please listen carefully to all questions. I ake your time in ansering questions. Some of

     the questions may require ou to tecall experiences during your entire lilbtime. Iheretore. search

     your memor before anssering. it you do not understand the question, raise sour hand and say

     so. If. later on. during the examination. you remember something that you failed to ans’ser

     before. or that would modify an answer you gase before, raise our hand and ou sill he asked
                                                                                                            Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 17 of 79 PageID #: 1117



      about it Your answers must not i. nly be truthful but the must he lull and complete It our

      answer to any of thesc questions m\olses matters that are personal or prkate, you may so

      indicate and you will he given an     opportunity   to state your answer at the bench.

             The trial of a lawsuit invokes considerable time and effort, and the parties are entitled to

     have their rights finalk determined. l’he lailure on your part fully and truthfully to answer

     questions during this stage of the rial could force the parties to have to retr the lawsuit at some

     future date.

             fhe Court will now read to you an instruction on the law applicable to all criminal cases.

             Phe charge of any offense is not evidence, and it creates no inference that any offense was

     committed or that the defendant is guilty olan offense.

             The defendant is presumed to be innocent unless and until, during your deliberations

     upon your verdict, you find him guilty. This presumption of innocence places upon the State the

     burden of proving beyond a reasonable doubt that the defendant is guilty.

            A reasonable doubt is a doubt based upon reason and common sense afier carel’ul and

     impartial consideration of all the e idence in the case.

            Proof beyond a reasonable doubt is proof that leaves you firmly convinced of the

     defendants guilt. The law does not require proof that overcomes every possible doubt, If, after

     your consideration of all the evidence, you are firmly convinced that the defendant is guilty of the

     crimes charged, you will find him guilty. If you are not so convinced, you must give him the

     benefit of the doubt and find him lot guilty

            Is there any of you who,   it   selected as a juror. could not, ftr any reason. follow that

    instruction? If so, would you please raise your hand.

            It is your duty to follow the law as the Court gises it to you    iii   the instructions even
                                                                                                       Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 18 of 79 PageID #: 1118



     though you may disagree with   it.   \re there any of you who would not be willin to follow all

     instructions that the Court will gie to the jur If so. would ou please raise ‘your hand.

            (Introduce the attorneys and ask such additional questions as the Court deems

     appropriate.)

            The prosecutor will questin ou lirst and then counsel for the de1ndant will question

     you

            Counsel for the state may proceed.




    MAI—CR 3rd OO 02
    Submitted b the State
                                                                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 19 of 79 PageID #: 1119




               I. Al IHF FIRST RFCFSS OR AI)JO RNMEN I

               It is the Court’s duty   to   instruct ‘.ou now upon a       matter    about which you wil] he reminded

     at each recess or adjournment of ( ur1           [nil!   this   case is   given to ‘ou 10 Jecide. ‘.ou must not

     discuss an subject connected witim the trial among ourseRes.                     or torm      or cxpresc an\     opinion



     about it, and, until you are discharged as jurors, you must not talk with others about the case,                            or



     permit them to discuss it with you or in your hearing. You should not e-mail, text. hiug. instant

     message or use any other form ol .omrnunication regarding the case                       or   anyone inoRed in the

     case until the trial has ended and          a have been discharged as a juror. his important that your

     decision be based only on the evidence presented to you in the proceedings in the courtroom.

     You should not do am research or investigation on               your   own regarding any mater involved in

     this case. For example, you should not consult hooks, dictionaries, the Internet or talk                          to a



     person you consider knowledgeable. You should not read,                    view,      or listen to am newspaper,

     radio, electronic communications from the Internet or television report of the trial.

               The bailiff and other ofticers of the Court are not permitted                to   talk to   you   about any

     subject connected with the triaL and you are not permitted                to   talk to them about it.

               ‘Ihe attorneys representing the state and the defendant               are   under a duty     not to   do anything

     that may even seem improper. Tl,ercfore.          at   recesses and adjournments they will avoid saying

     anything to the jury ccept. perham. something like ‘(iuod morning” or “Good afternoon.” in

     doing that they do not mean to be unfriendly, but arc simply doing their best to avoid                          e’en   an

     appearance, that might be misunderstood. that they              or   you are doing anything Improper.

               The   same   applies to itncsses and to the defendant                Ihcy have been or will he ristructed

     to   avoid all contacts    ith the jur even to talk about matters wholly unrelated to the case

     MM-CR 3rd 300.04
     Submitted by the State
                                                                                                                           Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 20 of 79 PageID #: 1120



             2. Al SUBShQLL’JT RI CLSSES OR ADJO1.R\\li is

             fhe Court again reminds ou of\hat ‘ou were told      at   the   first   recess of the Court       I.    nfl

     you retire to consider ‘our verdict, ou must not discuss this case among yourselves or with

     others, or permit anyone to discuss it in your hearing. You should not form or          express any



     opinion about the case until it is finally given to you to decide. Do not do any research or

     investigation on your own about any matter regarding this case or anyone ins olsed \.ith the trial.

      Do not communicate with others about the case b any means. Do nut read,              view. ci   listen        to


     any newspaper, radio, electronic communication from the Internet or television report of the trial.




     MAT-CR 3rd 300.04
     Submitted by the Stale
                                                                                                              Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 21 of 79 PageID #: 1121



              3, Af RECESS AFTER FIRSI Si AGE OF’ 1311’URCATEI) IRIAI

              Until   YOU   retire to consider ‘our verdict as to pumshment. you must not discuss this case

     among yoursehes or ith others, or permit an\one to dicuss          it   in our hearing l)o nut do an\

     research or investigation on your Ln about an\ matter regarding this case or anx one m oied

     with the trial. I)o not communicate with others about the case by any means. Do not read, ‘iev,

     or listen to any newspaper, radio, electronic communication from the Internet or television report

     of the trial.




     MAECR 3rd 300.04
     Submitted by the State
                                                                                                                         Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 22 of 79 PageID #: 1122




            I his case will proceed in the following order:

            First, the Court will read to \ou t\\o instructions concerning the law applicable to this

     case and   its   trial. ext. the attorne for the state must make an opening statement Outlining what

     hc expects the stat&s e\idence will he, l’he attorne\ br the defendant         is   not required to make an

     opening statement then or at any other time. I lose ci, if’ he chooses to do so. he ma\ make an

     opening statement after that of the state, or he nia resere his opening statement until the

     conc’usion of the slate’s evidence

            Evidence will then he introduced.

            At the conclusion of all of the e idence, further instructions in writing concerning the law

     will be read to you by the    Court. alter   which the attorneys may make their      arguments.          You will


     then be given the written instructions of the Court to take with you to your jury room. You will

     go to that room, select a foreperson. deliberate, and arrive at ‘our verdict.

            If you find the defendant guilt in this first stage of the trial, a second stage of the trial

     will be held, I)uring the second stage. additional instructions will he read to suu b\ the court.

     additional evidence may be presented. and the attorness ill make their arguments as to

     punishment. With the additional instructions of the court, you will return to the jury room,

     deliberate, and determine the pun.shrnent to he assessed.

            Sometimes there are dela s or confbences          out   of your hearing with the auoi’ne\ s about

     matters of law. l heIe are good ruon for these delay and conferences
                                                                    N                      1 he (‘our:   is   cnmtdeni



     that ou will he patient and undeistanding. We will hae recesses from time to time
                                                                                                                Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 23 of 79 PageID #: 1123



            I he following Io insiruetiois of ia ar br our guidance in this ease. Uhe to ci

    them, along with other instructions        r:11nc read to ou at the close   01   all the e idence. ili he

    handed to you at that time to take t   \   our ur’ ruom.




   NL\1CR 3rd 300.06
   Submitted h the State
                                                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 24 of 79 PageID #: 1124



                                         lSiR[C’1lON \O.                I
              These who participate in a jur’ trial must do so m accordance \\ith estahitshed ru!es

       fhis is true of the parties. the witnesses, the lawyers, and the judge. It is cquall true of jurors. It

      is the Court’s duty to enforce those rules and to instruct you        UOfl   the la applicable to the case

      It is your dut\ to follo the law as the Court tives   it   to y on.

              However, no statement, ruling, or remark that I may make during the trial is intended to

      indicate my opinion of what the lhcts arc. It is your duty to determine the lhcts and to determine

      them only from the evidence and the reasonable inferences to be drawn from the evidence. Your

      decision must be based only on the evidence presented to you in the proceedings in this

      courtroom: and you may not conduct your own research or in estigalion into an\             ui   the issues in

      this case. In your determination of the facts, you alone must decide upon the believability of the

      witnesses and the weight and value of the eidence.

             In determining the believability of a witness and the weight to he given to testimony of

     the witness, you may take into consideration the witness’ manner while testifying: the ability and

     opportunity of the witness to observe and remember an matter about which testimon\ is gi en;

     any interest, bias, or prejudice the witness may have; the reasonableness of the witness’

     testimony considered in the light of all of the evidence in the case; and any other matter that has a

     tendency in reason to prove or disprove the truthfulness of the testimony of the witness.

            Faithful performance by you of your duties as jurors is vital to the administration of

     justice. You should perform youi duties ithout prejudice or fear and soIeI\ h-om a fair and

     impartial consideration 01 the whole ease.


     MAI-CR 3rd 3O2Ml
     Submitted by the State
                                                                                                              Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 25 of 79 PageID #: 1125




                                        lSlRLC liON NO.

              You must not assume as true any fict solek because it is included in or suggested h\ a

      question asked a witness. A qucs:ion   i   not evidence and ma he considered only as   ii   uppIics

      meaning to the answer.

             From time to time the attorneys may make objections. l’hev have a right to do so and are

      only doing their duty as they see ii. You should draw no inlèrencc from the fact that an objection

      has been made.

             If the court sustains an ohec non to a question, von will disregard the entire question and

      you should not speculate as to what the answer of the witness might have been. The same

     applies to exhibits offtred hut excluded from the evidence after an objection has been sustained.

     You will also disregard any answer or other matter which the Court directs you not to consider

     and anything which the Court orders stricken 1mm the record.

             The opening statements of the attorneys are not eidence. Also, you must not consider as

     evidence any statement or remark or argument by any of the attorneys addressed to another

     attorney or to the defendant or to the Court. I lowever, the attorneys may enter into agreements or

     stipulations of fact. These agreements and stipulations become part of the evidence and are    to   be

     considered by you as such.




     MA1-CR 3rd 30202
     Submitted by the State
                                                                                                              Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 26 of 79 PageID #: 1126




                                            iSTRtC llO       .       3
              Uhe law applicable to this case is stated in these instructions and the to which the Court

      read to you immediately after you were sworn as jurors All of the instructions il1 be given
                                                                                                  to
      you to take to your jury   room for   use during sour deliberations.

              You must not single   Out   certain instructions and disregard others or question the sisdorn

      of any rule of law.

             The Court does not mean to assume as true any fact referred to in these instructions
                                                                                                  hut
     leaves it to you to determine what the facts are.




    \1A1-CR 3rd O2O3
    Submitted by the State
                                                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 27 of 79 PageID #: 1127




                                         ISTRUCT1ON NO.

              The charge of any olTense is not evidence, and      it creates   no inference that an of tense was

      committed or that the defendant is guilty   olan oltense.


              Uhe defendant is presumed to he innocent, unless and until, during your deliberations

      upon your verdict, you find him guilty. This presumption of innocence places           upon   the state the

      burden of proving beyond a reasonable doubt that the defendant is guilty.

              A reasonable doubt is a doubt based upon reason and common sense after careful and

      impartial consideration of all the evidence in the case.

              Proof beyond a reasonable doubt is proof that leaves you firmly convinced of the

      defendant’s guilt. The law does not require proof that overcomes every possible doubt. If. after

      your consideration of all the evidence, you are firmly convinced that the defendant is guilty of the

     crimes charged, you will find him guilty, if you are not so convinced, you must give him the

     benefit of the doubt and find him not guilty.




     MAlCR 3rd 302.04
     Submitted by the State
                                                                                                        Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 28 of 79 PageID #: 1128



                                  NS1RICJIONNO.            .5”
              1 Under the kr. a defendant has the right not to tistil>. No presumption of guilt
      maY lie mjsecj and no inference of an> kind an he dran frn:n th 1 fan that the delendant
      didnottcstif>.
              2. Under the ta. the wik ‘f a defendant has the right not to tesnfS No inkrence
      of an> kind ma> be drawn from Uic flict that the wife did not testify.




    MM-CR 3d 308.14
    Submitted by the Defendant




                                                                                                  11)
                                                                                                          Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 29 of 79 PageID #: 1129




                                        INSTRUCTION NO

             As to Count I. ii’ you find and believe from the eidence beyond a reasonable doubt:

             First, that on or about August 22, 2012, in the County of Franklin, State of Missouri, the

                     defendant possessed morphine, a controlled substance, and

             Second, that deëndant was aware of its presence and nature,

     then you will find the defendant guilty under Count I of possessing a controlled substance.

            However, unless you find and believe from the evidence beyond a reasonable doubt each

     and all of these propositions, you must find the defendant not guilty of that offense.




   MAICR 3rd 325,02
   Submitted h the State
                                                                                                          Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 30 of 79 PageID #: 1130




                                       INSTRUCTION NO,

             As to Count III, if you find and believe from the evidence beyond a reasonable doubt:

             First, that on or about August 22, 2012, in the County of Franklin, State of Missouri, the

                    defendant possessed marijuana, a controlled substance. and

             Second, that defendant was aware of its presence and nature,

     then you will find the defendant guilty under Count III of possessing marijuana.

            However, unless you find and believe from the evidence beyond a reasonable doubt each

     and all of these propositions, you must find the defendant not guilty of that oflènse.




   MM-CR 3rd 325.02
   Submitted by the State
                                                                                                                  Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 31 of 79 PageID #: 1131




                                         FNSIRUC1ION NO.             S
                As to Count 1\. if you find and be1iee frorri the evidence beyond a reasonab!e doubt:

                First, that on or about September 11. 2012, in the County of Franklin, State of Missouri,

                        the defendant attempted to cause serious physical injury to Sgt. Foisom by

                       shooting him, and

               Second. that Sgt. Folsom was a law enfiwceineni officer, and

               Third. that defendant was av are Sgt. Folsom was a law enforcement officer.

     then you will find the defendant guilty under Count IV of assault of a law enforcement
                                                                                            officer in
     the   first degree under this instruction,

              However, unless    you   find and believe from the evidence beyond a reasonable doubt each

    and all of these propositions.     you   must find the defendant riot guilty of that   offense   under this

    instruction.




   MAT-CR 3rd 319.32
   Submitted by the State
                                                                                                          Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 32 of 79 PageID #: 1132




                                       iNSTRUCTION NO.           9
             As to Count V. if you find and believe from the evidence beyond a reasonable doubt:

             First, that defendant committed the offense of assault of a law enforcement officer in the

                     first degree. as submitted in Instruction No.
                                                                     3, and
             Second. that defendant committed that offense with the knowing of a deadly weapon,

     then you will find the defendant guilty under Count V of armed criminal action.

            However, unless you find and believe from the evidence beyond a reasonable doubt each

     and all of these propositions. ‘ou must find the defendant not guilty of that offense.




   MAT-CR 3 rd
               332.02
   Submitted by the State
                                                                                                         Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 33 of 79 PageID #: 1133




                                     INS 1 RUCTION NO.       dD

             As to Count VI. if you find and believe from the evidence beyond a reasonable doubt:

             First, that on or about September 11,2012, in the County of Franklin, State of Missouri,

                    the defendant attempted to cause serious physical injury to Cpl. Mertens by

                    shooting him, and

             Second, that (‘p1. Mertens was a law enforcement officer, and

             Phird, that defendant was aware Cpl. Mertens was a law enforcement officer,

     then you will find the defendant guilty under Count VI of assault of a law enforcement officer in

    the first degree under this instruction.

            However, unless you find and believe from the evidence beyond a reasonable doubt each

    and all of these propositions, you must find the defendant not guilty of that offense under this

    instruction.




   MM-CR 3rd 319.32
   Submitted by the State
                                                                                                             Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 34 of 79 PageID #: 1134




                                       INSTRUCTION NO.            //
            As to Count Vii, if ou find and believe from the evidence beyond a reasonable doubt:

            First, that defendant committed the offense of assault of law enforcement officer in the first

                    degree, as submitted in instruction No. /&     ,   and

            Second. that defendant committed that offense with the knowing of a deadly weapon,

    then you will find the defendant guilty under   Count   VII of armed criminal action.

           However, unless you find and believe from the evidence beyond a reasonable doubt each

    and all of these propositions. you must find the defendant not guilty of that offense.




  MAI-CR 3 rd
              332.02
  Submitted by the State
                                                                                                              Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 35 of 79 PageID #: 1135




                                        INS FlU ‘C I ION NO.   /
              The toIlointt terms used ii these instructions are defined as 1olIos:

      Attempt (to commit an offense).
               I he doing 01 any act.     hF the purposL of committin an oftense. v h   eti act   s   a
      substantial step to\ard the comni:ssior of the ol lnse       A uhstaitial step means conduct
      which   is   strongl currohorati\ e of the lirinness of the actor’s purpose to complete the
      commission of the offense.
      Possess. Possessed, or Possession.
              Means either actual or constructi c possession of the substance.       .\ person    as
      actual possession if the person has the substance on his or her person or v ithin eas reach
      and convenient control.     \ person    ho. although not in actual possession. has the po er
      and intention at a gi en time to exercise dominion or control o er the substance either

      direeth or through another person or persons is in constructive poSsesSion of it.

      tPossession may    also he sole or loint. if one person alone has possession of a substance.

      possession is sole.   if to or more persons share possession ot a substance. possesson is
     Joint

      Serious physical injury.
              Means ph sical injury that creates a substantial risk of death or that causes serious
      disfigurement or protracted loss or impairment of the function of arty part ol the body.




     \I\l-CR d 33301)
     Submitted h l)cfendani




                                                                                                          —
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 36 of 79 PageID #: 1136




                                               !\XIRLCII)\      \o     /3
                The defendant   IS   charged    ith a separate oftnse In each of the six counts submitted to

     you. Each count must he considered separatel\          -




            You should return a separate erdci for each coun: aad            \Oa can return   oaR one crdict

     for each   COUflL




     MAECR 3rd 304i2
     Submitted b the State
                                                                                                          Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 37 of 79 PageID #: 1137




                                         INSTRLCTION NO.

              When you retire to vourjur\ room,\ ou will first select one 01 your number to act as your

       oreperson and to preside over your deliberations.

              You will then discuss the case with your lellow jurors. Each of you must decide the case

      for yourself, but you should do so only after you have considered all the evidence, discussed it

      fully with the other jurors, and listened to the views of your tdllow jurors.

             Your verdict, whether guilty or not guilty, must be agreed to by each juror. Although the

      verdict must be unanimous, the verdict should he signed by your foreperson alone.

             When you have concluded your deliberations, you will complete the applicable fbrms to

     which you unanimously agree and return them with all unused forms and the written instructions

     of the Court.




     MAI-CR 3rd 302.05
     Submitted by the State
                                                                                                          Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 38 of 79 PageID #: 1138




                                        lSFRI Cl lO NO.              If
             fhe attornex’s will no’v 1ir e the upportumt\ ol arcuinu the case to ‘you. Iheir areuments

      are intended le help ou in understanding the evidence and applying the law, but they are not

      evidence

             You will bear in mind that   it   is your duty to be governed in your deliberations by the

     evidence as you remember it. the reasonable inferences which you believe should he drawn

     therefrom, and the la as given in these instructions.

             It is your duty, and yours alone, to render such verdict under the law and the evidence as

     in your reason and conscience is true and     just.



            The state’s attorney   must open    the argument. The deibndanl’s attorney may then argue

     the case. The state’s attorney may then reply No further argument is permitted by either side.




     MA1.CR 3rd 302.06
     Submitted by the State
                                                                                                             Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 39 of 79 PageID #: 1139




                                         lSlRl Cl’ION\()             /
             As to Count I, you have found the defendant guilty of possessing a controlled substance.

      At this stage of the trial it will he your duty to determine within the limits prescribed by law the

      punishment that must be imposed ft)r those offenses.

              [‘he punishment prescribed by lav for possessing a controlled substance is:

             1. Imprisonment for a terni ofvcars fixed by you. hut not less than to years and not to

     exceed seven years.

             2. Imprisonment in the county jail for a term fixed by you, but not to exceed one year.

             3. lmpnsonment for a term of years fixed by you. but not less than two years and not to

     exceed seven years and in addition a fine, the amount to he determined      by   the Court.

             4. Imprisonment in the   county jail ftr a   term fixed by you. hut not to exceed one year

     and in addition a fine, the amount to be determined by the Court.

             5. No imprisonment but a line,   in an amount to    he determined by the Court.

            The maximum fine that the Court may impose is $5,000.




     N4AICR 3rd 305 01
     Submitted by the State
                                                                                                       Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 40 of 79 PageID #: 1140




                                        lNSlRLCllO NO             /7
             As to Count Ill, you have found the defendant guilty of possessmg marijuana At this

      stage of the trial it will be your duty to determine within the limits prescribed by lav the

      punishment that must be imposed for those offenses.

             1 he punishment prescribed by la for possessing marijuana is:

             1 Imprisonment in the county jail tbr a term fixed by you. but not to exceed one year,

             2. Imprisonment in the county jail for a term fixed by you. but not to exceed one year.

     and in addition a fine, the amount to be determined by the Court.

             3. No imprisonment but a line, in an amount to be determined by the Court.

             ‘I he maximum line that the Court may impose is $1,000.




     MA1CR 3rd 305.01
     Submitted by the State
                                                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 41 of 79 PageID #: 1141




                                              INSTRUCTION NO.                1
               As to Count I\’, you have found the defendant guilty ol assault of a la enforcement

     officer   in   the first degree. At this stage of the trial   it   will be your duty to determine sithin the

     limits prescribed b) law the punishment that         must     be imposed for those offenses.

               fhe punishment prescribed by la br assault of a la enforcement in the first degree is.

               1. Life imprisonment,

               2. Imprisonment for a term of years fixed by you, but not less than ten years and not to

     exceed thirty years.




     MAUCR 3rd 305.01
     Submitted by the State
                                                                                                        Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 42 of 79 PageID #: 1142




                                            1S1RUC1IO NO.           1
             As to Count     v•   ou have Jiund the defendant guilt\ of armed criminal action At this

      stage of the trial it will he ‘your duty to determine within the limits prescribed by Lw. the

      punishment that must be imposed for those offenses.

             l’he punishment prescribed by law tbr armed criminal action is:

             1. Imprisonment for a tem ut years fixed by vow hut not less than three years.




    MAT-CR 3rd 3O’.Ol
    Submitted by the State
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 43 of 79 PageID #: 1143




                                        INS1RUC lION NO,       2
     At this stage of the trial, we will proceed as follows:

            First, the attorneys will have an opportunity to make a statement outlining an additional

     eidence to be presented. Such evidence may then be introduced.

            After that, the (ouri will provide you with additional instructions.

            f’hen the attorneys may make their arguments.

            You will then go to the jury room, deliberate, and arrive at your verdict.




    M \I CR 3rd 305,02
    Submitted by the State




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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 44 of 79 PageID #: 1144




                                        INSrRtCTION NO.           Z
             The law applicable to this stage of the trial is stated   in these instructions and Instruction


     Nos, 1 and 2 that the Court read to you in the first stage of the trial.

             In assessing and declaring the defendant’s punishment, you should consider the evidence

     presented to you in this case, the argument of counsel, and the instructions of the Court. You

     may consider the evidence presented in either stage of the trial.

             You will be provided with fdrms of verdict for your convenience.

             You cannot return any verdict as the verdict of the jury unless all twelve jurors agree to it,

     hut it should be signed by your foreperson alone.

             When you have concluded your deliberations, you will complete the applicable forms to

     which you unanimously agree and return it together with all unused forrris and the written

     instructions of the   Court.




     MAI-CR 3rd 305.03
     Submitted by the State
                                                                                                            Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 45 of 79 PageID #: 1145




                                       INSTRUC1ION NO.        2 2

            The attorneys will now have the opportunht at arguing the case to you regarding the

     punishment to be imposed. Their arguments are not evide nec.

            You will bear in mind that it is your duty to be governed in your deliberations by the

     evidence as you remember it, the reasonable inferences that you believe should be drawn

     therefrom, and the law as given in these instructions.

            It is your duty. and yours alone, to render such verdict under the law and the evidence

     concerning the punishment to be imposed as in your reason and conscience is true and just.

            The states attorney must open the argument. The defendant’s attorney may then argue the

     case. The states attorney may then reply. No further argument is pennined by either side,




    MAI-CR 3rd 305.04
    Submitted by the State




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Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
   Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 46 of 79 PageID #: 1146




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   Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 47 of 79 PageID #: 1147




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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 48 of 79 PageID #: 1148



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                                               \FRDICI

                                                                                     of possessing a
           As to Count I. we. the jur, find the defendant Jeffrey R. Weinhaus guilt\

    controlled substance as submitted in instruction No,


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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 49 of 79 PageID #: 1149


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                                                 I- RDICl

            As to Count III. e. the jur\. find the deIndant ieffre R. \\einhaus guilty of possessing

     marijuana as submitted in Instruction No.   7

                                                 1 oreperson
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 50 of 79 PageID #: 1150


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                                                                                     FRAKJN COLY M SSOUR
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            As to Count Isv, ve. the jur\. find the defendant Jeff re R. Vemhaus gullt\ of assault of a

     law enforcement officer in the trst degree   as submitted in   Instruction o.


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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 51 of 79 PageID #: 1151



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           As to Count V. v.e. the jur. tind the deiiidani Jelire\ R. \ cinhaus guilix u armed

    criminal action as suhmtted in Instruction No.


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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 52 of 79 PageID #: 1152


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                                                                             FRANKLiN COUNVc MISSOURL

                                              ‘VI RDICI

                                                                       Weinhaus not guilty
          “Vs to Count VI, we, the jury. find the delendant Jeffrey R.


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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 53 of 79 PageID #: 1153



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          As to Count VII. we. the jury. find the defe
                                                       ndant Jeffre R. \\ ernhaus not cuilix.


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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 54 of 79 PageID #: 1154



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             As to count i. e. the jur. iavirw found the deiendant Jeffrey R. \k cinhau guilr\ ol

    possessing a controlled substance assess and declare the punishment thr possessing a controlied

     substance at:         pYi5)flJMLCt                        -r a 4Q(• r                        cY     Z




                                                              loreperson

    Select one of the following paragraphs and write it in the aboe blank. l1’your selection includes
    imprisonment, insert the time period.

        Imprisonment for a term of         Z   *
                                                   year( )

    2. Imprisonment in the county jail fora term of

    3. Imprisonment for a term of                  *
                                                       year(s), and a line, the amount to be determined by the

    Court.

    4. Imprisonment in the county jail br a term of
                                                                        ,**
                                                                              and a fine, the amount to be

    determined by the Court.

    S. \o imprisonment hut a tine, in an amount to he determined by the Court.

             *Insert 2, 3, 4, 5, 6, or 7

             **Ipsert period of time, but not          to   exceed one ear
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 55 of 79 PageID #: 1155




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                                                VERDI(’l                       I   -




           As to Count III. we. the jur. havini fliund the defendant JetYrev R. \Veinhaus guilty        01


    possessing marijuana assess and dedare the pun thment for possessing marijuana at:

             f-±J                 r    -1r Co Yrftj                  A     1       -      a
    o


                                                 lorep rson

    Select one of the following paragraphs and write it in the above blank. If your    selection    includes
    imprisonment, insert the time period

    I. Imprisonment in the county jail for a term of    I
    2. Imprisonment in the county jail for a term of
                                                       ——   **
                                                                 and a fine, the amount   to   he

    determined by the Court.

    3. No imprisonment hut a fine, in an amount to be determined by the Court.

           **Inse period of time, hut not to exceed one year
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 56 of 79 PageID #: 1156



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            As to Count IV. we, the jury, haing ftmnd the defendant Jeffrey R. \Veinhaus gualt of

     assault of a la enforcement officer in the first degree assess and declare the punishment for

     assault of a law enforcement officer in the first degree at: i rY         )ftj

    z1




                                                        lorepe on

     Select one of the following paragraphs and write      it   in the ahoxe blank. 11 ‘our selection includes
     imprisonment, insert the time period.

        Life imprisonment.

                                         *
     2. Imprisonment for a term oi           year(s).

            *jnsert 10, II. 12, 13, 14, 15, 16, 17. l, 19. 20, 21, 22. 23, 24. 25. 26. 27, 2. 29o.
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 57 of 79 PageID #: 1157




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                                                                                  ERANKUN COuTy MISSOR
                                                  VI RJ)IQ J

            Asto Count V. we. thejun, having found the delendant Jeffrey R, Vcinhaus guilty of

     armed criminal action assess and dcelare the punishment for armed criminal action at:

      ry-vL                        _-
                                                  4Q r




                                                       lorepLrson

     Select one of the following paragraphs and write it in the above blank. If your selection includes
     imprisonment, insert the time period.

     1. Imprisonment for a term of         ‘year(s).

                    3 or more.
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 58 of 79 PageID #: 1158




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                                                          C. a’.e ‘so. I 2.1I-C’RO24O9-() I

   iJ.1FREV R. ii:1NIIAUS.

            Defendant.

                         DEFENDANT’S MOTION FOR NEW TRIAL

         Comes nos Defendant Jeffr?3 R. Seinhaus. by counsel I lugh \.i at’ nod and

  Christopher M. Combs. and states Ir his Rule 29.11 motion for ne trial for good       caise     sho n:

         1 outube ideo, extreme prejudice.

                Before trial. Defendant mcn ed on I’ irst \mendment and other grounds to dismiss

        for defect in the institution cl’ the prosecution and to acquit on the judicial tampering

        charge. The Court denied Deflndant’s motion at that time. Defendant then mo’ed in

        hmine and also timely objected during trial to introduction of the Youtube ideo. which

        was evidence that went only to the judicial tampering charge. Although the       CoLirt

        allowed the Youtube ideo to go to die jury. ne ertheless the Court then acquitted

        Defendant on the judicial tampering charge at the close of the State’s es idencc Ibr the

        same reasons that DeIindani had sought dismissal and acquittal prior to trial. In the

        intcnm. howeer. the jury heard and as extremely prejudiced by Defendant’s

        outrageous and cxtremist    hut First .mendment protected       political speech on the

        Youtube tiden. For that rea’on. md becau%e the judicial tampering cliarte ‘sac nut
                                                                                                              Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 59 of 79 PageID #: 1159
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         n ered from the drug and a%ault charges Ihr a separate trial, the Court must granL a ne”

         trial for good cause show n.

                   Defendant s speech in the \ outube ‘ideo was I irst mendment protected in that

         it was speech on matters of public concern (i.e alleged judicial corruption. in a public
                                                          .




        forum (the world wide w cb that was conditional and not direct       iii   natui e. and thus stands

        athwart the ape. off irst Amendment protections for political speech. Dun & Bradsireet.

        Inc.   t   Greennwss Builders. InL, 472 U. S. 749. 758-759 (1985). l)efendant’s speech

        did not constitute a true threat. did not put Judge Kell) Parker in a reasonable

        apprehension of harm (indetd Defendant iieer spoke his name. and the State neer

        probed up anything as to who affixed captions annotations to the Youtube ideo that did

        show Judge Parker’s name). did not constitute incitement nor did the speech incite an

        imminent breach of the peace. See. e.g.. State   it   Wooden. No. SC92846 (Jan. 8. 2013).

        The speech was never communicated to Judge Parker. l)elindant made an offer of proof

        that that the ideo was still on outubc’s website. despite ‘a outube s prohibition on

        threatening speech and incitement Most reasonable juries would be extremel>

        prejudiced against Defendant because his speech is outrageous and distasteful, despite its

        constitutional protections. 1 he Court entered a directed erdict of acquittal on the

        judicial tampering charge upnn closure ol’the State’s e idence. ‘ustaining l)ekndant\

        motion. See al.se) United Stints s’. Dinwiddie. 76 f.3d 913 (8th (‘ir. 1996).

                   for these reasons. and the case law hrielbd to the Court in Defendant” amended

        motion to dismiss the charge of judicial tamperint (incorporated herein). lie” trial must




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                                                                                                              Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 60 of 79 PageID #: 1160




         be had. separately, on each ‘I the drug and the attempt assault armed criminal action

         charges.

   2     Failure to sever charges. L)efendant was prejudiced at trial by essentially the trying     it


         three cases distinct in time that were not part a single crime spree. and which lacked the

         connectedncss required forj• under. State it iowan. 911 S.i .2d ‘56. ‘58 iN I’. ‘ipp.

         E.D.. 1997). 1i en if joinder ‘sa appropriate. I)efendant was prejudiced by the failure to

        cever. upon Defendant’s timely motion, each of the \ outube. drug. and attempted

        assault armed criminal action charges. Simply. no reasonable jury could gie l)efendant

        a fair trial on the issues of each of(l) drtws in the famil home basement. and (2)

        whether or not l)efendant reached lhr his gun befi’re the troopcrs. because I )ekndant’s

        outrageous and offensi. e political speech   which occurred days and a month before the

        other alleged offenses ‘-rang out in their minds, making Defendant seem a potentially

        dangerous political extremist. State v. French, 308 SW 3d 266.271 (Mo. App.. 2010):

        Rule 24.07.

  3.    Sheriff letter. l)efendant made an offer of proof on a letter from the Franklin (bunt>

        Sheriff to the Defendant. Despite the State’s objection as to authentication. thc Sheriff

        was present in the courtroom to authenticate. [hat letter was necessary to impeach Sgt.

        Folsom on inconsistent testimony as to whether he notified the Sherifl as to the search

        warrant. pursuant to the statutory iequirement of RS%lo. 11.200 1 he credibility e’l Sgt.

        Folsom was perhaps the mo.t disputed issue in this case. as his testimony was the chief

        piece ofe’. idence fbr Defendant’s cons iction for the most serious felony counts ol’

        attempted assault on a law enlbrcement officer, and armed criminal action. l)clndant




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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 61 of 79 PageID #: 1161




         was allowed to show that Sgt. I olsom had   lost   his ability    to sen e   on the I lizii” ay Patro’

         as a result of the shooting. hit was denied the opportunity       to   present this e idenee that

         showed Sgt. Folsom had made contradictory statements under oath that went to his

         testimony (Indeed at trial Sgt. Folsom made wholly new excuses for his failure to follow

         RSMc’. 43.200. including allegedly bad cell phone reception near L)efendant\ liousei

         Defendant was thus precluded from presentinv all      of the     es idenee that iould tend to

        diminish Sgt. Folsom’s cred’bility.

  4.    Defendant’s wounds. Defendant made an oiler ol’ proof as to the jury ‘dewing the

        wounds showing the entry and exit of bullets on Defendant’s person. I he location and

        angle of these wounds was necessary to impeach Sgt. l’olsom’s testimony as to shere on

        Defendant’s person he shot I )efendant and from what angle. The credibilit of Sgt.

        Folsom was a critical issue in the case. as his testimony was the chief piece of e’ idence

        for Defendant’s conviction 1kw the most serious felony counts. There is no Fifth

        Amendment wait er issue for 1)eIndant in showing such wounds as the Delndant\

        person being iewed to the jury is not testimonial, but rather only demonstratie. in

        nature. (It is similar to a lin up. or fingerprints. oi DNA.)

  5.    Text message related to [ni Weinbaus. l’here was evidence in a police report written

        by Sgt. P.1.. Smith that there was a text between a Ic’ i ‘einhaus iDefendant’s son) and

        Defendant concerning a ‘weed plant.” Sgt. Smith ne’ er passed this information on to

        Sgt. Folsom or (‘p1. ‘lertens I hat test message ttoes to I)cIndant’s gLiilt )n possescion

        of the marijuana found in his basement. A reasonable jun could infer based on the te’ct

        that the marijuana belonged to Defendant’s 19 year old son. or someone else, and not




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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 62 of 79 PageID #: 1162
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         Defendant. when defense counsel raised this issue both in     cross   examination f Sgt.

         Smith. and in closing argument. the (‘curt sustained the Statec objection and instructed

        the jury to disregard this e i knee. Sustaining that objection wa improper and

        prejudicial to Defendant as tile e idence was potentially e’culpatory. \bsent such an

        instruction, a reasonable jury could infer that the text message implied marijuana

        possession by someone other than Defendant.

  6.    Weapons in Defendant’s is ife’s Subaru s’ehicle. After l)efendant was shot at the ga’s

        station. the scene was secured. and Defendant was cuffed then airlifted to the hospital.

        Defendant’s wife’s Subaru chicle was ins entoried. (Defendant used his wife’s car to

        drise to the gas station, not his own.) During that inventory, troopers found additional

        firearms. including a rifle and a handgun. Critically, the troopers admitted that they had

        no idea that the firearms were in the ‘.chicle during the attempted assault, and ‘hen they

        shot Defendant. fhe Court ncnnitted that ci idence to be introduced at trial. ci erruling

        each of Defendant’s pit-trial motion in limine and timely objection during the ci idence

        I hose firearms allowed the State to paint Defendant as loaded lbr bear” when he arrised

        at the gas station. Such evidence was wholly prejudicial and sersed no probatise

        purpose. No es idence was presented as to who owned the firearms. It is immaterial to

        the jury’s analy   of hat occurred hens een Defendant and the troopers upon

        Defendant’s exit from the schiele. and irreles ant to the charge% of attempted assault and

        armed criminal action on Sgt. Fc’k’m.

  7     Freeze frame demonstratis c es idence from wrist isatch sideo in        ci idenee.   ‘Miei’ the

       jury requested it during its deliberations, the (‘ourt. in sustaining the State’s objection. did



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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 63 of 79 PageID #: 1163




         not permit the use of Defendant’s treeie frame demonstrathe ci idence     from   the irist

         watch ‘ideo—-a idci., alread’ in n idence as a State’s lahihit (s itht’ut obictium. I he

         State made no timely ohjeciinn to 1)elendant .use of this demnn%tratn e frcwe Irarne

         e’ idence during either cross during the State\ C3C. or in direct during the I)eIndanCs

         case. While Defendant did   lint   moi e independently to admit such freeze frames into

         e idence as an exhibit for Delimdant. such a motion was unnecessary and ould be

        superfluous. Vhere an echibit is ne’ er lhrmally offered and recei’ ed into e idence. but

        is published to the jury. is treated by both the prosecutor and defense counsel as i fit had

        been received into e’ idence and is ne er objected to. then the exhibit is in e idenc&’ for

        all purposes as if it had been tbrmally offered by the state and recei ed by the court.

        State it Candela, 929 S.W.2d 852 (Mo. \pp. CD.. 1996): State it Taylor, 133 S.V.2d

        273,274 (Mo. 1968): State it RobInson, 664 S.W.2d 543. 547 (Mo.App. lt.l). 1983): State

        it   Sanders, 608 S.W.2d 507. 509 (Mo.App. ‘A .D.1980). lhercfore. Defendant ias

        prejudiced by the inability of the jury to review this freeze frame analysis midway

        through its deliberations. Thk is particularly true as what happened in the critical

        seconds between Defendant exiting his car and being shot by Sgt. Folsom and (‘p1.

        Mertens was the most important question of fact for the jury. I hat Defendant as

        secretly recording the incident on a wrist watch ideo with audio. unbeknow itst at the

        time to the shooting trooper%. as well as to the trooper iniestigating the shooting. made

        such a ideo (properly in ci idence) a critical piece of ci idence. DefbndanCs counsel

        used the freeze frame dcmonstrati es fred throuehout trial to impeach StaL&s witne%cec

        without oLjection. Demonstrati’. e freeze frame ehihitc      used through trial   of that




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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 64 of 79 PageID #: 1164




              rist \\atch     idc foutage         alread\ propcrI part f Statc      C\   idence   as tl.reforc

             esentiaI   tu   the mrs   s   ana!\ si’. of the critical seconds, frame h\ frame.

             \\ 11 [RU ()Rl     .   l)ehcndant Jcf1l’e R. \\ einhaus      pm   tlu ( ann grant a ne trial flr

    guod cause sho\\ IL and lai such othcr          ref   id as is meet. ust and reasonable.

    Respectfulk submitted.

    \ttorness for Debcndant

   h.Jsiiioo/
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  Christopher M. (‘omhs. MBIz tt655 2
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                                     Cl R I lb ICA lE OF SERVICE
  The undersigned certi lies that on 10 29 201 3 (s)he served this document on:
  Robert F. Parks. II
  Frank! in County Prosecuting Attorney
   IS S. Church St.. Room 204
  1 nion, MO 63084

  ri’.   ii L
            4 ±h0Ii ‘&9!
   I be method(s) of ser ice: Missouri courts c-lung              s   stem.
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 65 of 79 PageID #: 1165




                       IN THE 20TH JUDICIAL CIRCUIT COURT, FRANKLIN COUNTY MISSOURI


  Judge or Division                           —              jumber1 2A6-CR02409-01
  KE[TH M SUTHERLAND (2509                                     Change of Venue from
  Dlvi
                                                              Offense Cycle No     J8007983
  State Of Missouri                     vs                    Prosecuting Attorney/MO Bar No.
  Defendant. JEFFREY R WEINHAUS (WEIJR388O)                       ROBERT E PARKS (36333)
             FRANKLIN COUNTY JAIL
             #1 BRUNS LANE
             UNION, MO 63084                                  Defense Attorney/MO Bar No
                                                                 HUGH ATHELSTAN EASTWOOL) (62058l

  DOB: 06-Oct-1966                 SSN: 486803880
  SEX  M
  Pre-Sentence Assessment Report Ordered                      Appeal Bond Set Date
                                                              Amount

                                                         Judgment
                      Charge #     Charge Date    Charge Code      Charge Description
  Original Charge:        I        17-Aug-2012    3245000          Possession Of Controlled Substance Except 35
                                                                   Grams Or Less Of Marijuana ( Felony C RSMo:
                                                                   195202)
  Disposition:       l0-Oct-2013                Jury Verdict Guilty
  Order Date:        25-Nov-2013           Sentence or SIS :     Incarceration DCC
  Length :           2 Years              Start Date :            25-Nov-2013
  Text:              2 YRS DCC
  ConclCons:         CONC W/CTS Ill. IV, V

                      Charge #     Charge Date    Charge Code     Charge Description
  Original Charge:        2        17-Aug-2012    2921700         Tampering With Judicial Officer   (   Felony C
                                                                  RSMo: 565.084)
  Disposition:       09-Oct-2013                  Tried/Court-Not Guilty
                     Charge #      Charge Date    Charge Code     Charge Description
  Original Charge:        3        17-Aug-2012    3245700         Possession Of Up To 35 Grams Maiijuana
                                                                  Misdemeanor A RSMo: 195.202>
 Disposition:        10 Oct-2013                 Jury Verdict-Guilty
 Order Date:         25-Nov-2013           Sentence or SIS :      Incarceration Jail
 Length              365 Days              Start Date :           25-Nov 2013
 Text.               1 YR COUNTY JAIL

                     Charge #      Charge Date    Charge Code Charge Description
 Original Charge:       4          1i-Sep-202     310000      AssaultIAttemptAssauIt LEO CorrOffEmrgncy
                                                              Prsnnl Hwy Wkr. Utility Wrkr CbIe Wrkr Or P&P
                                                              Offcr 1st Degr ( Felony A RSMo: 565.081
                                                                       -




12A5.CR02409 01                                                                                                    Page   of 3
                                                                                                                                        Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 66 of 79 PageID #: 1166


   Disposition:        1 0-Oct-20 1 3                    Ju y Verdut-Guilty
   Order Date:         25-Nov-20 3
                       1                           Sentence or SIS:      Incarceration DOC
   Length:             30 Years                    Start Date:           25-Nov-2013
   Text                30 YRS DOC
   Conc/Cons:          CONC W’CTS I. IV, V

                       Charge #       Charge Date        Charge Code     Charge Description
   Original Charge:         5         11-Sep-2C12        3101000         Armed Criminal Action       (   Felony Unclassified
                                                                         RSMo: 571.015)
   Disposition:       10-Oct-20 13                      Jury Verdict-Guilty
   Order Date:        25-Nov-20 13                 Sentence or SIS :     Incarceration DOC
  Length :            30 Years                     Start Date:           25-Nov-2013
  Text;               30 YRS 000
  ConclCons:          CONC W/CTS          Ill IV
                       Charge #       Charge Date        Charge Code     Charge Description
  Original Charge:          6         11-Sep-2012        1310000        Assault/Attempt Assault- LEO. CorrOtf.Emrgncy
                                                                        Prsnnl, Hwy Wkr. Utility Wricr,Cble Wrkr Or P&P
                                                                        Offcr 1st Degr ( Felony A RSMo: 565.081
  Disposition:        1 0-Oct-201 3                     Jury Verdict-Not Guilty
                   Charge #           Charge Date       Charge Code Charge Description
  Original Charge:    7               11-Sep-2012       3101000     Armed Criminal Action        (       Felony Unclassified
                                                                    RSMo: 571.015)
  Disposition:        10-Oct-2013                       Jury Verdict-Not Guilty
                       Charge #       Charge Date       Charge Code     Charge Description
  Original Charge:         8          11-Sep-2012       2702000         Resisting/Interfering With Arrest ForA Felony(
                                                                        Felony D RSM0: 575,150)
  Disposition:        09-Oct-201 3                      Tried/Court-Not Guilty

 The court informed the defendant of verdict/finding, asks the defendant whether (s)he has anything to say why
 judgment should not be pronounced, and rinds that no sufficient cause to the contrary has been shown or
 appears to the court.

 Defendant has been advised of his/her rights to file a motion for post conviction relief pursuant to Rule
 24035/29.15 and the court has found No Probable Cause to believe that defendant has received ineffective
 assistance o counsel.
 The Court orders
 The clerk to deliver a certified copy of the udgment and commitment to the sheriff
 The sheriff to authorize one additional officer/guard to transport defendant to Department of Corrections

 That Judgment entered in favor of the State of Missouri and against the defendant for the sum of $68.00 for the
 Crime Victims Compensation fund Judgment is Not Satisfied




12A8-CR02409-31                                                                                                           Page 2 of 3
                                                                                                                              Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 67 of 79 PageID #: 1167


     The Court further orders
     25-Nov2O13         Defendant Sentenced
     DEFENDANT IN CUSTODY. IN PERSON AND WITH COUNSEL HUGH EASTWOOD AND CHRISTOPHER
     COMBS STATE BY PA ROBERT PARKS ALLOCW ION GRANTED COUNT I 2 YRS DOC COUNT II
     YR COUNTY JAIL COUNT IV 30 YRS 000 COUNT V 30 YRS DOC ALL CONCURREN CC’CVF
     29 15/24 035 ADVISED AND NO PROBB E CAUSE FOUND SO ORDERED KEITH M SLTHERLAND
     25-Nov-2013        Judgment Entered
     COURT COSTS

    So Ordered on: 12A8-CR02409-O1         ST V JEFFf



                                 Date
    I certify that the above is a true copy of the original Judgment and Sentence of the court n the above cause as   it
    appears on record in my office
    (Seal of Circuit Court)
    Issued on
                                 Date                                       Clerk




1   2AB-CR02409-O1                                                                                               PagQ 3 o 3
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       Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 68 of 79 PageID #: 1168


                     I TIlE 20th JLI)ICIAI. (‘IRCIlT COI’RF, FRANKLIN COt Nfl, MISSOURI

    Judge or Disisioir                                  (ase \ umber: 12 B-CR02409-0 I
    lIon Keith M Sutherland, Dis. I
    Plaintiff Petitonet                                  \ppellaic \umher:                           El   I hug as an I ndi gent
    Stt of \dissouri
                                                        Court Reporter. Km \\ ioklae ( CR                  Sound Recajirie
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                                                        Report is I clcphonc:                        “.unil”er al D,i\        sI I rial
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    l)cfiidani Reticcndent           —
                                                       Hi36-5s 953
    Jellies R. \ einhaus                                Date 01 Judgment Sentence.                   Date Post trial \ lotion I-i led:
                                                         Ii 25 2u3                                   10 ‘9 0l
                                                        (Attach a cops I
                                                        Date Ruled t pon:                            Date \otice I-i lcd.
                                                        II 25 2913                                   II 2 201                                  L.a..,    5_., ,   -




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                 Supreme Court of Missouri                  (urt of \ppeals:            fl   \\ estern               Eastern         L I Southern
         \ouee is ais en that Defendant i eft res R. \\ ci nhaus             appeals 11am the udument decree entered in this act ion on
           \osember 25. 2013     (datet.

      Complete if Appeal is to Supreme Couri of 1issouri
         Jurisdiction of the Supreme Court is based on the fact that this appeal insolse:
         (Check appropriate box)
              El The vahdits of a treaty or statute of the nited States           fl I lie title to ciii\ slate ol1icc iii I
              [1 fhe punishment imposed is death                                  Li I he construct ion at the es en iie lass s I \ 1 iSsoLill
              El I he saltdits of a stalute or pros ision i die Constitution of \lissouri
              I fthe basis of jurisdiction is al id its of a nited States treats or statute, the s.al idils of a 1 issouri statute or
         Constitutional provision or construction of Missouri i-cs enue lasss. a concise explanation. together ss ith suggestions. if
         desired, is required. this mas be filed as part afar \S ith this notice ofappeal or. in the alternatise. nay he tiled within ten
         days after the notice of appeal i tiled by tiling it directly with the Clerk of the Supreme Court. See Rule 81 .08(b) and (c)
         and Rule 30,01(f) and (g).
     \ppellant’s Attorney Bar Numbet                                       Respondent’s Attorney(s) Bar Number(s)
    I lugh  .   I.astwood. MBE d 62058                                     (If multiple. list all or attach additional sheets)
                                                                           Robert I.. Parks. II. \IBl a 36333

     \ddress                                                                     \ddress
    777    Bonhomme     Ave..   Suite 1603                                       I S S. ChLiich St.. Room 20-1
    St Louis. Missouri 63 105-1941                                                  n ion. S I issouri 6308-I

      I elephone                                 I’ as.                       I elephone                                        I-as.
     .,1l-809 2)43                               31 I-727--II3              636-583-6370                                        636-$3-73 I)
      \ppellant s Name                                                       t
                                                                            Respondent’s NamL
     Jeffey R Vs emhaus                           -.                        State of Missouri
      \ddress                                                                 \ddress
     (ranklin C ountv Jail, I I3runs Drive. Lnion. \lO n308 I                I S (‘hurch St. Room 20 I. t non, \l() (CiJS I
     i elcphone                                                               I elephone
    8a-2560
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    b39-                                                                    n3n-8$-6370
     Brief Description of C ase S ppel lain ss as eons icLd hs
                                 -                                   uis ol I I ) I st degree attempted assault aim a lass em is i cemneii m a flicer.
    I2 anned criminal action. (31 tëlons possession sfu contiolled substance. and ( 4 misdemeanor possession of inanjuana (less
    than 35 gramsi. lie appeals bar re less bar manifest injustice aiid plain erior. as sseii a’. the trial courts error in denying his
       nicls notions bar acquittal. Ihe es dence slioss cd no substantial step toss ard as’.ault thus also soiding the .s( ‘.5 charge I. nor
    coil’.trucls Dossescion of the drug
                                     . The Court cncd in admitting a ‘toutLliae id-co containing extremist political speech. erred
                                     5
    mu mat sescrinc the charges, erred in dens inc Ins notion (or ness trial, and erred k other ica’.ons as briefed to the trial cuit.
    I )utc t \ppcal i3ond                               SnisLint a! I3ond
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         f!iigI I I.os;n and. (1111      -                                                                                -
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 69 of 79 PageID #: 1169
                                                      %OtiCC   to I)l)eI1at ‘S Attorne4

    I ocaf rules may require supplemental documents to he filed          Plea,e refer to thc appliahl ru Ic for the district in ss hich
th appeal is hemg tiled and forssard supplenic.nts as required

                                                           C ertificate of Ser ice

     I certif that on         11 2’ 201             (date), I seised a op of the notice of appeal on the INloss ni parties, at
the tollossing address(es), by the method of scrs ice indicated.


                   Robert F.. Parks, II. Prosecutina \ttorne har I ranklin Counts
                   through Missouri courts efilin ss stem, and by emai to rparks a trankl inmonet
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                                                                                          \ppeltant or tlorne     toi   pp.iIiiit

                                                            I)irections to C lerk

     Serse a copy ofthe notice of appeal in a manner as prescribed by RLile .13.01 on the attorneys of record of all parties to
the judgment other than those taking the appeal and on all other parties who do not hase an attorney. (A copy of the notice
of appeal is to be sent to the Attorney General sshen the appeal involves a felony.) I ransmit a copy of the notice of appeal
to the clerk of the Supreme Court Court of Appeals. If a party does not have an attorney, mail the notice to the party at
his her last known address. Clerk shall then fill in the memorandum beloss, (See Rules 81.08(d) and 30.01 (h) and (i).)
Forward the docket tee to the 1)epartment of Revenue as required by statute.

                                                      Memorandum of the Clerk

     I have this day served a copy of this notice by    [ I regular mail [ ] recistered mail Li certified mail LI ty.icsinnle
transmission to each of the follossing persons at the address stated heloss, II sersed by facsimile, include the time and date
of transmission and the telephone number to ss Inch the document ssas transmitted.




I have also transmitted a copy of the notice of appeal to the clerk of the
    H Supreme Court                    [1 Court ol    \ppeals,                                     District


    Li Docket fee in the amount of$                        has been receised by this clerk ssliich ssill he disbursed as required hr
         statute


    [1   \ copy ofan order grantiag leave to apgeal as indigent




                                                                                                          C kak
                                                               ____________         _______




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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 70 of 79 PageID #: 1170




                       IN THE 20TH JUDICIAL CIRCUIT COURT, FRANKLIN COUNTY MISSOURI


  Judge or Division:                                           Case Number: 12A8-CR02409-0i
  KEITH M SUTHERLAND (2509)                                     ElChange of Venue from
  Dlvi




                                                               Offense Cycle No     J8007983
  State Of Missouri                    vs                      Prosecuting Attorney/MO Bar No
  Defendant JEFFREY R WEINHAUS (WEIJR388O)                         ROBERT E PARKS (36333)
             FRANKLIN COUNTY JAIL
             #1 BRUNS LANE
             UNION, MC 63084                                   Defense Attorney/MO Bar No
                                                                  HUGH ATHELSTAN EASTWOOI.) (62058)

  DOS    06-Oct-1966                 SSN   486803880
  SEX    M
 Pre-Sentence Assessment Report Ordered                        Appeal Bond Set Date
                                                               Amount

                                                           Judgment
                      Charge #       Charge Date    Charge Code      Charge Description
  Original Charge:         1         17-Aug-2012    3245000          Possession Of Controlled Substance Except 35
                                                                     Grams Or Less Of Marijuana ( Felony C RSMo:
                                                                     195.202)
 Disposition:        10-Oct-2013                  Jury Verdict-Guilty
 Order Date:         25-Nov-2013             Sentence or SIS:      Incarceration DOC
 Length :            2 Years              Start Date :               25-Nov-2013
 Text:               2 YRS DCC
 ConclCons:          CONC W/CTS III, IV, V

                      Charge #       Charge Date   Charge Code       Charge Description
 Original Charge:         2          17-Aug-2012   2921700           Tampering With Judicial Officer   (   Felony C
                                                                     RSMo: 565.084)
 Disposition:        09-Oct-20 13                  Tried/Court-Not Guilty
                      Charge #       Charge Date   Charge Code       Charge Description
 Original Charge:         3          17-Aug-2012   3245700           Possession Of Up To 35 Grams Marijuana
                                                                     Misdemeanor A RSMo: 195.202)
 Disposition:        1 0-Oct-201 3                Jury Verdict-Guilty
 Order Date:         25-Nov-2013             Sentence or SIS :     Incarceration Jail
 Length :            365 Days                Start Date:             25 Nov-2013
 Text:               1 YR COUNTY JAIL

                     Charge #       Charge Date    Charge Code Charge Description
 Original Charge:       4           11-Sep-20i2    1310000     Assault/Attempt Assault LEO. CorrOffEmrgncy
                                                               Prsnnl Hwy Wkr, Utility WrkrCbIe Wrkr Or P&P
                                                               Offcr 1st Degr ( Felony A RSMo: 565,081
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12A0-cRo24c9-o1                                                                                                       Page   of 3
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 71 of 79 PageID #: 1171


   Disposition:       10-Oct-2C13                        Jury Verdct-Guilty
   Order Date:        25-Nov-2013                   Sentence or SIS:     Incarceration DCC
   Length:            30 Years            Start Date :                    25-Nov-20 13
   Text               30 YRS DCC
   Conc!Cons:         CONC W’CTS I, IV, V

                       Charge #       Charge Date         Charge Code Charge Description
   Original Charge:         5         1 1-Sep-2012        3101000     Armed Cnminal Action       (   Felony Unclassified
                                                                      RSMo: 571.015)
   Disposition:       I 0-Oct-201 3                      Jury Verdict-Guilty
   Order Date:        25-Nov-20 13                  Sentence or SIS :     Incarceration DCC
  Length:             30 Years                      Start Date:           25-No-201 3
  Text:               30 YRS DCC
  ConclCons:          CONC W/CTS          Ill, IV
                       Charge #       Charge Date         Charge Code Charge Description
  Original Charge:         6          1 1-Sep-2012        1310000     Assault/Attempt Assault LEO, Corr OffEmrgncy
                                                                                                     -




                                                                      Prsnnl, Hwy Wkr, utility Wrkr,Cble Wrkr Or P&P
                                                                      Cffcr 1St Degr ( Felony A RSMo: 565.081
                                                                                  -




  Disposition:        1 0-Oct-201 3                      Jury Verdict-Not Guilty
                   Charge #           Charge Date        Charge Code     Charge Description
  Original Charge:    7               11-Sep-2C12        3101000         Armed Criminal Action (Felony Unclassified
                                                                         RSMo: 571.015)
  Disposition:        1 0-Oct-201 3                      Jury Verdict-Not Guilty
                       Charge #       Charge Date        Charge Code     Charge Description
  Original Charge:         8          1 1-Sep-2012       2702000         Resisting/Interfering With Arrest For A Felony
                                                                         Felony 0 RSM0: 575.150)
  Disposition:        09-Oct-20 13                       Tried/Court-Not Guilty
 The court informed the defendant of verdict/finding, asks the defendant whether (s)he has anything to say why
 judgment should not be pronounced, and finds that no sufficient cause to the contrary has been shown or
 appears to the court.

 Defendant has been advised of his/her rights to file a motion for post conviction relief pursuant to Rule
 24.035/29.15 and the court has found No Probable Cause to believe that defendant has received ineffective
 assistance of counsel.
 The Court orders:
 The clerk to deliver a certified copy of the judgment and commitment to the sheriff.
 The sheriff to authorize one additional officer/guard to transport defendant to Department of Corrections.

 That Judgment entered in favor of the State of Missouri and against the defendant for the sum of $68.00 for the
 Crime Victims Compensation fund Judgment is Not Satisfied.




12AE3-CR024C9-31                                                                                                      Page 2 of 3
                                                                                                                         Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 72 of 79 PageID #: 1172


  The Court further orders.
  25-Nov-2013        Defendant Sentenced
  DEFENDANT IN CUSTODY. IN PERSON AND WITH COUNSEL HUGH EASTVVOOD AND CHRISTOPHER
  COMBS STATE BY PA ROBERT PARKS. ALLOCUTION GRANTED COUNT I 2 YRS DOC COUNT Ii 1
  YR COUNTY JAIL. COUNT IV 30 YRS DOG. COUNT V 30 YRS DOG ALL CONCURRENT CC’CVF.
  29 15i24.035 ADVISED AND NO PROBABLE CAUSE FOUND. SO ORDERED. KEITH M SUTHERLAND
  25-Nov-2013        Judgment Entered
  COURT COSTS

 So Ordered on: I2AB-CR02409-O1         ST V JEFFE


                           2/
                              Date
  certify that the above is a true copy of the onginal Judgment and Sentence of the court n the above cause as   it
 appears on record in my office
 ISeal of Circuit Court>
 Issued on.
                              Date                                      Clerk




1 2AB-CR02409-91                                                                                            Page 3 o 3
                                                                                                Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 73 of 79 PageID #: 1173




                  IN [I IL MISSOI RI CO1 RI OF APPIAI S
                  hAS I LRN DIS I RIC I APPLAI NO.
                  CRIMINAL CASI INFORMA lION I ORM
     I his lbrm must be tiled xx ith the \otice of Appeal xx ith the Circuit Clerk)

   Appellant Defendant: Jeffre R. Weinhaus

   hugh A. Eastxxood, MB!. 62058
   7777 Bonhomme Ax e.. Ste. 1603
   St. Louis, Missouri 63105-1941
   3 14-809-2343
   Solo practitioner Attorney at Laxx



   Respondent Plaintiff: State of Missouri

  Robert F. Parks, II. MBF 1136333
  15 S. Church St., Room 204
  l’nion. Missouri 63083
  636-583-6370
  Prosecuting Attorney for F rank I in County

  A UTACII A COPY OF Fl IF JI ii )GMI N I OR ORI )LR APPFAII I).
  A BRIEF STA FEMLNT OF 11 IL CASE (Set forth charge(s) and sentence(s) imposed
  and summary of facts upon which con\/iction is based.)

  Appellant xxas convicted by a jury of(1) 1st degree attempted assault on a laxx
  enforcement officer (a I Iighxx ay Patrol trooper). (2) armed criminal action. (3) felony
  possession of a controlled substance, and (4) misdemeanor possession of marijuana
  (less than 35 grams). lie appeals for rex iex\ for manifest injustice and plain error, as
  xx eli as the trial court’s error in deny ing his timely motions br acquittal I he
  cx idence shox4ed no substantial step toxxard assault (thus also voiding the ACA
  charge). nor constructie possession of the drugs. ihe Court erred in admitting a
  Youtube xideo containing extremist political speech. erred in not sex ering the charges.
  erred in deny ing his motion for nexx trial, and erred lbr other reasons as brie led to the
  trial court,

  Appellant xxas acquitted by the Court of tampering xxith a judicial olficer (the
  cx idence of xx hich xx as the Youtube x ideo) and resisting arrest. Ihe jur found
                                                                                           Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 74 of 79 PageID #: 1174




   Appellant Hot guilty of 1st degree attempted assault on a la enforcement ollicer. and
   armed criminal action, as to a second 1 lih a Patrol trooper.

   I he States onl e idence ot’ the attempted assault as the testimon of t o troopers.
   one ol whom shot \k einhaus four times and was remo ed from dut\ alter the
   shooting. As to the drugs. the e idence showed that the crc rcco ered in a
   common area of the basement of the house, adjacent to the bedroom ol 1)efcndants
   son. and that three people resided in the house.



   Is this a   Misdemeanor X       Felony or      Municipal Con iction?

  Is the Defendant presently incarcerated?   ,   Yes    No

  has an Appeal Bond been filed?       Yes X No If Yes. Amount S



  Name of Surety



  Address of Surety



  City. State. Zip Code

  ATTACH COPY OF APPEAL I3OND. IF ANY.

  A COPY OF TillS FORM ANI) A F1’ACIIMENTS MLJSl 13L SERVEI) ON HIF
  RE S PON Di NT.
                                                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
     Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 75 of 79 PageID #: 1175

Report CZROO26                                  20TH JUDICIAL CIRCUIT                            Date   04 Feb 2(14
                                                 FRANKLIN COUNTY                                 T me   10 4   59AM
                                            CIRCUIT COURT DOCKET SHEET                           Page   1


12AB-CRO24O9O1         ST V JEFFREY R WEINHAUS                                         Security Level: I Public

Filing Date      Description

O5DeC 2013       Ord Allow In Forma Pauperis
                 Defendant granted leave to appeal fl forma paupers s Keith Sutherland v a ema
                 Filed By: KEITH M SUTHERLAND
                 Motion Granted!Sustained
                 MOTION FOR RETURN OF PROPERTY OR EVIDENCE GRANTED                  SO ORDERED. KEITH M
                 SUTHERLAND
                                                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 76 of 79 PageID #: 1176




                                              LEGAL FILE
                                            CERTIFICATION

    STAFF OF \IISSOI RI
                                                           Case \O I2AB-CR02409-01
                                                           Appeals Court Case No. ED 100807
    COLNTY OF FRANKLIN



              I, Bill D. Miller, Clerk of the Circuit Court. sithin and for the Counrt aforesaid, do hereby certif
    that the foregoing and annexed are full, true and complete copies of the following:


                    Docket Sheets, 19 Pages
            2.      Substitute Information in Lieu of Indictment, 3 Pages
            3.      Indictment. 3 Pages
            4.      Verdict Forms. 10 Pages
            5.     Judgment. 3 Pages
            6.      Instructions I Through 15, Blank Verdict Forms. 39 Pages
            7.     Jury Instructions, 8 Pages
            8.     Defendant’s Motion for Judgment of Acquittal. 2 Pages
            9.     09-Oct-20 13 & l0-Oct-2013 Circuit Court Docket Sheet. 1 Page
            10.    Jury Notes. 3 Pages
            II.    Motion for New Trial. I Page
            12.    Defendant’s Motion for Ness Trial, 7 Pages
            13.    Motion to Tax Depositions as Court Costs, 3 Pages
            14.    Defendant’s Second Motion for Judgment of Acquittal. 4 Pages
            IS.    Defendant’s Motion to Tax Depositions as Court Costs, and, etc.. II Pages
            16.    State’s Motion to Forfeit Weapon, I Page
            17.    Defendant’s Memorandum in Opposition to State’s Motion to Forfeit Weapon. 4 Pages
            18.    Defendant’s Supplemental Suggestions of Law in Support of Each of His, etc., 6 Pages
            19.    25-Nov-20 13 Circuit Court Docket Sheet, I Page
           20.     08-Oct-20 I 3 Circuit Court Docket Sheet, I Page
           21,     State’s Motion in Limine 2, 1 Page
           22.     Defendant’s Opposition to State’s Second Motion in Limine, 2 Pages
           23.    Motion to Tax Depositions as Court Costs. 3 Pages
           24.    Defendant’s Second Motion in Limine. 3 Pages
           25.     l2-Sep-2013 Notice of Entry, I Page
           26.    Certificate of Service, 2 Pages
           27.    Defendant’s Amended Motion to Dismiss the Charge of Tampering, etc .35 Pages
           28.    Defendant’s Motion in Limine ‘Motion to Exclude. 5 Pages
           29.    Defendant’s Motion in Limine Motion to Exclude, 6 Pages
           30.    Defendant’s Opposition to State’s Motion in Limine. 3 Pages
           31.    Certificate of Sers ice. I Page
           32.    Motion to Tax Depositions as Court Costs. 3 Pages
           33.    Request for Lease to File a Substitute Information in Lieu of Indictment. I Page
           3$.    Defendant’s Motion to Dismiss the Charge of Tampering s’ ith Judicial. etc.. 35 Pages
           35.    Defendant’s Amended Second Motion to Sever Offenses. 6 Pages
           36.    Defendant’s Verified Announcement of Reads and Motion for Speed Trial. 2 Pages
           37,    Defendant’s Second Motion to Seser Offinses, 6 Pages
           38     02-Ma-20I3 Notice ofEntr.. I Page
           39.    26-Apr-20 13 Notice of Entry. I Page
                                          CONTINL’FD ON NEXF PAGE
                                                                                             Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 77 of 79 PageID #: 1177



           40. Defendant’s Motion for Trial Continuance. 3 Pages
           41 Entr of Appearance. I Page
           42, 25-Apr-2013 Notice of Entr, I Page
           43. State’s Motion in Limine 1. I Page
           44. States Motion to Quash Defendants Endorsed itnesscs, 11 Pages
           45. Request for Emergenc Bond Reduction Hearing. Pages
           46. Endorsement of Witness. 10 Pages
           4’. Defendant Victim Objection to Non Written \Vaier of Counsel. etc.. 10 Pagec
           48. State’s Motion fbr Disclosure. 3 Pages
           49. Endorsement of Witness. I Page
           50. State’s Supplemental Anser to Discover\. I Page
           51. 20-May-20 13 Notice of Entry. I Page
           52. 3-19-20 13 Order. I Page
           53. 3-19-2013 Stipulation.1 Page
           54. 19-Mar-2013 Circuit Court Docket Sheet
           55. Defendant’s Motion to Sever the Charges. 4 Pages
           56. Memorandum on Non-Written Waiver of Counsel. 2 Pages
           57. 10-Mar-20 13 Notice of Entry. 2 Pages
           58. Defendant’s Motion to Quash Indictment. 13 Pages
           59. Motion for Return of Personal Effects. 2 Pages
           60. Motion to Dismiss. 17 Pages
           61. State’s Answer to Defendants Request for Discovers. 3 Pages
           62. Endorsement of Witness. I Page
           63. State’s Supplemental Answer to Discover, I Page
           64. Judgment and Order. I Page
           65. Mntion to Hear Habeas Corpus. etc., 2 Pages
           66. 22-Feb-2013 Notice of Entry I Page
           67. Order. I Page
           68. Motion tbr Discovery. 1 Page
          69. 21-Feb-2013 Notice of Entry, I Page
           70. Amended Motion for Surety Bond, 2 Pages
          71. Writ of Habeas Corpus on Behalfof Jeffrey Weinhaus, 3 Pages
          72. Motion to Proceed Under Supreme Court Rule 16, 1 Page
          73. 14-Feb-20 13 Notice of Entry. I Page
          74. State’s Motion for Evidentiary Hearing on Bond Reduction. I Page
          75. Motion for Summary Judgment, I Page
          76. Motion for Surety Bond, I Page
          77. Motion for Speedy Trial, I Page
          78. Motion to Dismiss, 3 Pages
          79. Entry of Appearance. I Page
          80. Motion to Withdraw as Counsel, 2 Pages
          81 Motion for Leave to Withdra as Counsel, I Page
          82. 07-Jan-2013 Notice of Entr. 1 Page
          83. Endorsement of Witness. I Page
          84. State’s Supplemental Anser to Discovery, 1 Page
          85. Waiver of Formal Arraignment and Plea of Not Guilty, I Page
          86. 02-Jan-20 13 Notice of Entry. 1 Page
          87. 27-Dec-20 12 Notice of Entry. I Page
          88. Motion to Modify Bond. 3 Pages
                                    CON FINUED ON NEXT PAGE
                                                                                                         Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 78 of 79 PageID #: 1178




             89    Request for Discovery. 4 Pages
             90   Motion for Bill of Particulars. 3 Pages
             91   0-Dec-20l2 Notice of Entry, I Page
             92   Notice and Application for Change of Judge. I Page
             93   State’s Motion for Disclosure. 4 Pages
             94   Special Conditions of Bond. I Page
             95   28-No-20l2 Notice ofEntr\. I Page
             96   Judge’s Docket Sheet. Entries of II 28 12 and 1 7 13. I Page
             97   Notice of Appeal. Judgment. Criminal Case Information Form, and 05-Dec-20 13 Docket
                  Entr. 8 Pages


    In the case of: STATE OF MISSOURI vs. JEFFREY R. WEINI-1ALS, rendered in this Court in the abo\e
    entitled cause, as fully as the same appears and is on file in my office.

    IN TESTIMONY WHEREOF. I have hereunto set my hand and affixed the seal of said Court. at my office
    in the (‘it\ of Lnion. Missouri, this 6
                                          th
                                             day of February, 2014




              /a L
    Bill D. Miller
                               //k’//1
    Franklin County Circuit Clerk.
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Case: 4:17-cv-01941-DDN Doc. #: 27-8 Filed: 12/22/17 Page: 79 of 79 PageID #: 1179




                        LEGAL FILE CERTIFICATE OF SERVICE

         I hereby certify that on this 25th day of February, 2014, a true
  and correct copy of the foregoing Legal File was filed through the Missouri c-Filing
  System to Shaun Mackeiprang, Assistant Attorney General, at
  Shaun.Mackelprangago.mo.gov. and a true and correct copy of the foregoing
  Legal File cover page and index was filed through the Missouri c-Filing
  System to the Franklin County Circuit Clerk.



                       TRANSCRIPT CERTIFICATE OF SERVICE

         Thereby certify that on this 25th day of February, 2014, a true and correct copy of
  the foregoing Transcripts:

     •   Transcript on Appeal
     •   Trial Transcript
     •   Sentencing Transcript

  were filed through the Missouri c-Filing System to Shaun Mackelprang, Assistant
 Attorney General, at Shaun.Mackelprangago.mo.gov, and a true and correct copy of
 the Trial and Sentencing Transcripts were placed for delivery through the Missouri
 c-Filing System to the Franklin County Circuit Clerk.




                                                  AmyM.
